        Case 2:15-cv-00060-SEH Document 13 Filed 12/15/15 Page 1 of 4



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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                          BUTTE DIVISION


CRAIG DISHER AND SCOTT                     Cause No. 15-cv-00060-SEH
DISHER,

             Plaintiffs,                   STIPULATION FOR
                                           DISMISSAL WITH
v.                                         PREJUDICE

STATE FARM FIRE AND
CASUALTY COMPANY dba STATE

STIPULATION FOR DISMISSAL WITH PREJUDICE                   PAGE 1
        Case 2:15-cv-00060-SEH Document 13 Filed 12/15/15 Page 2 of 4



FARM or STATE FARM GROUP, and
DOES I through X.

              Defendants.



      IT IS HEREBY STIPULATED, by and between the parties hereto, through

their respective counsel of record, pursuant to Rule 41, Federal Rules of Civil

Procedure, that all of the claims alleged in the above-captioned action have been

fully and finally compromised and settled on the merits, and counsel request the

Court’s Order dismissing all of the claims alleged in the above-captioned action with

prejudice, each party to bear its own costs and fees. A proposed Order of Dismissal

with Prejudice is attached herewith for the Court’s consideration.

      Dated this 15th day of December, 2015.

                                       MOORE, COCKRELL,
                                       GOICOECHEA & JOHNSON, P.C.

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STIPULATION FOR DISMISSAL WITH PREJUDICE                        PAGE 2
        Case 2:15-cv-00060-SEH Document 13 Filed 12/15/15 Page 3 of 4



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STIPULATION FOR DISMISSAL WITH PREJUDICE                      PAGE 3
         Case 2:15-cv-00060-SEH Document 13 Filed 12/15/15 Page 4 of 4




                        CERTIFICATE OF SERVICE

      The undersigned does hereby certify that a true copy of the foregoing

document was served upon the following individuals by the means designated

below:

[X] CM/ECF                Daniel B. Bidegary
[ ] Federal Express       Bert J. Certain
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      Dated this 15th day of December, 2015.



                               /s/Dale R. Cockrell
                               Dale R. Cockrell




STIPULATION FOR DISMISSAL WITH PREJUDICE                   PAGE 4
